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               IN THE STATE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


 ERNEST HAYWARD WARD,

           Plaintiff,

 v.
                                                    CIVIL ACTION FILE
                                                 NO. 3:17-cv-00183-TCB-RGV
 TROUP COUNTY SCHOOL
 DISTRICT,

           Defendant.


               DEFENDANT'S BRIEF IN SUPPORT OF ITS MOTION
                       FOR SUMMARY JUDGMENT

           COMES NOW, TROUP COUNTY SCHOOL DISTRICT ("Defendant" or

the "School District"), named as Defendant in the above-styled matter, and pursuant

to Fed. R. Civ. P. 56 and N.D. Ga. LR 7.1 submits this its Brief in Support of its

Motion for Summary Judgment, in support of which it relies upon all facts and

pleadings of record and the accompanying Affidavits and Exhibits, respectfully

showing the Court the following:

      I.      INTRODUCTION AND NATURE OF PLAINTIFF’S CLAIMS

           This matter concerns allegations of race and gender discrimination in

violation of Title VII and § 1981, retaliation in violation of Title VII, and of a First
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Amendment violation. Following Defendant’s Motion to Dismiss Plaintiff’s original

Complaint and on Plaintiff Ernest Ward’s Motion, the Magistrate Judge permitted

Ward to amend his Complaint, with the operative Complaint limited to the following

claims: (1) race and gender discrimination under Title VII and § 1981; (2) retaliation

under Title VII and § 1981; and (3) a First Amendment violation brought under §

1983. (See generally Doc. 28). Plaintiff then submitted his operative Amended

Complaint. (Doc. 30).

       As the basis for his race and gender discrimination claims, Ward alleges to

have suffered two (2)1 adverse employment actions2 in contrast to his proposed




   1
      Throughout his Complaint, Ward makes other allegations, including that
Ward’s school was overcrowded, he did not receive additional administrative help,
bus routes and student arrival times at his school were scheduled due to an
unspecified animus, and Caucasian and/or female principals were not required to
revise School Improvement Plans ("SIPs"). (See generally Doc. 30). To the extent
that these claims attempt to assert race or gender discrimination as opposed to a
hostile environment claim (see n.2, below), they are addressed in Section IV.B.4.
    2
      Against the express instructions of the Magistrate Judge (Doc. 28, p. 45
(ordering Ward to file his second amended complaint "asserting only those claims
which the Court has authorized to proceed"); Id., n. 12 (granting Ward’s motion for
leave to file a second amended complaint with respect to race and sex discrimination
claims and his First Amendment claim, and denying Ward’s motion with respect to
his claims for punitive damages and hostile work environment)), Ward attempts to
nest in his Complaint a re-asserted hostile work environment claim. (See Doc. 30,
pp. 55-56). Due to the Magistrate Judge’s Order (Doc. 28), this claim is a nullity,
and therefore Defendant’s Motion will not address the same.

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Caucasian, female comparators: (1) in November 2013, following evaluation,3 Ward

was placed on a Professional Development Plan (PDP) after his previous year’s

evaluation was marked "satisfactory;"4 and (2) that Ward was removed from his

position of principal, unlike his proffered comparators following supposedly similar

conduct.5 Ward further asserts a Monell claim for race and sex discrimination against

the School District on the basis of an alleged policy, practice, or custom of hiring

very few African-American male principals and/or removing African-American

male principals from that position. (Id., pp. 62-63).

        Ward asserts that his removal from the position of principal constitutes

retaliation for two (2) acts: (1) complaining in October 2013, in some unspecified

context, to the Troup County School Board and Central Office about placement of

low-income African-American students at the school where Ward was principal (Id.,

pp. 58-59); and (2) filing a grievance against his supervisor after receiving his

evaluation (Doc. 30, p. 58).




    3
      Ward claims that his evaluation involved "misinterpretation and misapplication
of the Georgia Leadership Evaluation Instrument." Ward pleads nothing to specify
what this means or how the evaluation instrument was "misinterpreted" or
"misapplied," and has produced no evidence thereof.
    4
      Doc. 30, p. 55.
    5
      Id., pp. 57-58.

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      Ward’s First Amendment claim is based on the allegation that the

Superintendent’s denial of a grievance filed against Ward’s supervisor following the

evaluation deprived Ward of a right to a final appeal to the Troup County Board of

Education. (Doc. 30, pp. 60-62).

      Discovery in this matter concluded on July 1, 2019. (See Doc. 39, p. 1).

During discovery, Ward tendered no Requests for Production of Documents nor

Requests for Admission, noticed no depositions, and produced nothing beyond the

documents submitted with his Initial Disclosures. (See generally Docket, noting no

notices of deposition or certificates of service of discovery beyond Plaintiff’s

Interrogatories). The School District now timely moves for summary judgment as to

each and every one of Ward’s claims.

                        II.    STATEMENT OF FACTS

      The School District hereby incorporates by reference its accompanying

Statement of Undisputed Material Facts pursuant to Fed. R. Civ. P. 10.

               III.   STANDARD ON SUMMARY JUDGMENT

      Summary judgment is proper when "there is no genuine issue as to any

material fact . . . and the moving party is entitled to judgment as a matter of law."

Fed. R. Civ. Pro. 56(c). The moving party must show that there is an absence of

evidence to support the non-movant’s case; it is not required to negate his opponent’s


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claims. Celotex Corp. v. Catrett, 477 U.S. 317, 323, 325 (1986). Once that showing

is made, the burden shifts to the non-movant to demonstrate that there is a material

issue of fact. Clark v. Coats & Clark, Inc., 929 F.2d 604, 608 (11th Cir. 1991).

      The mere existence of some factual dispute does not preclude summary

judgment; rather, a plaintiff must establish a "genuine issue of material fact."

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986) (emphasis in

original). In this regard, "when opposing parties tell two different stories, one of

which is blatantly contradicted by the record, so that no reasonable jury could believe

it, a court should not adopt that version of the facts for purposes of ruling on a motion

for summary judgment." Scott v. Harris, 550 U.S. 372, 380 (2007). Moreover,

summary judgment must be entered when "the non-moving party has failed to make

a sufficient showing on an essential element of [his] case with respect to which [he]

has the burden of proof." Celotex, 477 U.S. at 323.

            IV.   ARGUMENT AND CITATION OF AUTHORITY

A.    WARD CANNOT MAINTAIN A MONELL BECAUSE THE UNDISPUTED FACTS
      DO NOT SHOW THE EXISTENCE OF ANY POLICY, PRACTICE, OR CUSTOM
      ON THE PART OF DEFENDANT THAT CAUSED ANY CONSTITUTIONAL
      VIOLATION

      Ward alleges that the School District has a "practice and pattern of not telling

administrators why they were non-renewed or placed back in the classroom as a

teacher." (Doc. 30, p. 55). He also claims that the Superintendent’s decision to deny

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his grievance was due to an unidentified policy or custom. (Id., p. 61). Finally, Ward

claims that it was the School District’s policy, practice, or custom to hire few

African-American male principals and to put those the School District did hire into

the most challenging schools. (Id., p. 63).

      A governmental entity may not be sued under § 1983 for an injury inflicted

solely by its employees or agents; instead, a plaintiff must point to the entity’s

"policy or custom" as responsible for the injury in order to establish liability. See

Monell v. Dep't of Soc. Servs. of City of New York, 436 U.S. 658, 694 (1978). To

establish a policy or custom, a plaintiff must identify either (1) an officially

promulgated policy or (2) an unofficial custom or practice shown through the

repeated acts of a final policymaker. Grech v. Clayton Cty., 335 F.3d 1326, 1329

(11th Cir. 2003) (en banc).

      There is no evidence in this case of any policy or custom on behalf of the

School District that influenced any decision on the hiring or placement of African-

American male principals, the denial of grievances, or the timeliness of telling

administrators that they would be placed back in a classroom. Ward therefore has

failed to establish, let alone show a disputed issue of fact concerning, the existence

of any such policy or custom that caused a constitutional violation, and Ward’s

Monell claims against the School District must fail.


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B.    WARD’S § 1981 AND TITLE VII RACE AND GENDER DISCRIMINATION
      CLAIMS FAIL BECAUSE THE UNDISPUTED MATERIAL FACTS SHOW THAT
      WARD WAS NOT TREATED LESS FAVORABLY THAN ANY SIMILARLY
      SITUATED COMPARATOR AND THE DISTRICT HAD LEGITIMATE, NON-
      DISCRIMINATORY, NON-PRETEXTUAL REASONS FOR ITS ACTIONS

      "When section 1983 is used as a parallel remedy for violation... of Title VII,

the elements of the two causes of action are the same(,)" and therefore, the two

claims are to be analyzed under the same framework. Underwood v. Perry County

Com'n, 431 F.3d 788, 793 (11th Cir. 2005) (internal quotations omitted). Further,

"[t]he elements of a claim of race discrimination under 42 U.S.C. § 1981 are . . .

the same as a Title VII disparate treatment claim in the employment context."

Rice-Lamar v. City of Ft. Lauderdale, Fla., 232 F.3d 836, 843 n. 11 (11th Cir.

2000). Therefore, the same framework applies to Plaintiff’s race and sex

discrimination claims under both Title VII and Section 1981.

      1.    Ward’s Claims Must Be Analyzed Under The McDonnell-Douglas
            Burden-Shifting Framework Because There Is No Direct Evidence
            of Discrimination

      "A plaintiff may establish a Title VII claim through the introduction of direct

evidence of discrimination or through circumstantial evidence that creates an

inference of discrimination." Bass v. Bd. of Cnty. Comm'rs, Orange Cnty., Fla., 256

F.3d 1095, 1103 (11th Cir. 2001). The framework established by the United States

Supreme Court in McDonnell Douglas Corp. v. Green, 411 U.S. 792, 793 (1973), is


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used to evaluate claims based on circumstantial evidence. Id. Under this framework,

a plaintiff must first establish a prima facie case of discrimination. Id. at 1104. "Only

the most blatant remarks, whose intent could mean nothing other than to discriminate

on the basis of some impermissible factor(,) constitute direct evidence of

discrimination." Wilson v. B/E Aerospace, Inc., 376 F.3d 1079, 1086 (11th Cir.

2004) (internal citation and quotations omitted). If the alleged evidence suggests, but

does not prove, a discriminatory motive, then it is circumstantial evidence. Burrell

v. Bd. Of Trustee of Ga. Military Coll., 125 F.3d 1390, 1393 (11th Cir. 1997).

      Based upon the facts not in dispute, no direct evidence of racial discrimination

against Ward on the part of the School District or any of its officers or employees

exists. Ward must therefore make out a prima facie case of discrimination to survive

summary judgment—which, for the following reasons, he cannot do.

      2.     Ward Cannot Make Out A Prima Facie Case of Race
             Discrimination Because He Was Neither Replaced By A Person
             Outside his Protected Class Nor Treated Less Favorably Than A
             Similarly-Situated Individual Outside That Class

      To establish a prima facie case of race or gender discrimination under the

McDonnell Douglas framework, a plaintiff must establish that: (1) he is a member

of a protected class; (2) he was qualified for the position; (3) he suffered an adverse

employment action; and (4) he was replaced by a person outside his protected class,

or was treated less favorably than a similarly-situated individual outside his

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protected class. Maynard v. Bd. Of Regents of the Div. of Univs. Of the Fla. Dep't

of Educ., 342 F.3d 1281, 1289 (11th Cir. 2003); see also Hudson v. Middle Flint

Behavioral Healthcare, 522 Fed. Appx. 594, 596 (11th Cir. 2013).

             a.     Ward Was Not Replaced By An Individual Outside His
                    Protected Class

      Insofar as Ward’s race discrimination claims relate to his removal from the

position of principal of Whitesville Road Elementary School, Ward cannot establish

a prima facie case on the basis of replacement because his successor, Debra Brock,

is an African-American female. (See Freeman Aff., ¶ 3). Thus, just as with his race

discrimination claims based on his placement on a PDP, Ward must show that he

was treated less-favorably than a similarly-situated comparator.

             b.     Ward Was Not Treated Less Favorably Than A Similarly-
                    Situated Comparator Outside His Protect Class

      To be similarly-situated, the comparator must be "similarly situated in all

material respects." Lewis v. City of Union City, Georgia, 918 F.3d 1213, 1218 (11th

Cir. 2019). This means that a valid comparator will have "engaged in the same basic

conduct (or misconduct) as the plaintiff, . . . will have been subject to the same

employment policy, guideline, or rule as the plaintiff, . . . will ordinarily (although

not invariably) have been under the jurisdiction of the same supervisor as the

plaintiff, and . . . will share the plaintiff’s employment or disciplinary history[.]"


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McQueen v. Alabama Dep't of Transportation, 769 F. App'x 816, 821–22 (11th Cir.

2019) (quoting Lewis, 918 F.3d at 1238-39).

      In this case, Ward identifies six (6) alleged comparators, all Caucasian

females, whom he claims were neither subject to additional duties or responsibilities

when their job performances were brought into question, nor had actions taken

against them that lowered their responsibilities, salary, or prestige: (1) Ward’s

predecessor, Gretta Wright; (2) Anne Cook O’Brien; (3) Tina Johnson Forbus;

(4) Penny Johnson; (5) Carol Montgomery; and (6) Peggy Smith. (Doc. 30, pp. 52-

54). Not one of these proffered comparators engaged in the same basic conduct and

was treated less favorably than Ward.

                   i.     Ward’s History of Misconduct

      For an extensive showing of Ward’s history of misconduct, see Defendant’s

Statement of Undisputed Material Facts, ¶¶ 10-32, filed contemporaneously

herewith.

                   ii.    Ward’s Comparators

      For the conduct of Ward’s proffered comparators and the District’s actions

pertaining to them, see Defendant’s Statement of Undisputed Material Facts, ¶¶ 49-

71, filed contemporaneously herewith.




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      3.     Ward’s Gender Discrimination Claims Relating To His Placement
             On A PDP Also Fail At This Stage Because Ward Was Not Treated
             Differently From Any Similarly-Situated Female Comparator

      Because, as shown extensively above, there is no similarly-situated female

comparator who was treated differently from Ward, Ward’s gender discrimination

claims connected to his placement on a PDP, like his race discrimination claims on

that basis and on the basis of his removal from the position of principal, must fail at

the prima facie case stage.

      4.     Even If Ward Could Establish A Prima Facie Case For Race Or
             Gender Discrimination, The School District Had Multiple
             Legitimate, Non-Discriminatory Reasons For Its Actions.

      If a prima facie case for discrimination is established under the McDonnell-

Douglas burden-shifting framework, the burden then shifts to the employer to show

the existence of a legitimate, non-discriminatory reason for its actions. See, e.g.,

Standard v. A.B.E.L. Servs., Inc., 161 F.3d 1318, 1331 (11th Cir. 1998). If the

employer succeeds, the burden then shifts back to the plaintiff to establish that the

proffered reason was pretextual. Id. The undisputed facts in this matter clearly

establish that the School District had such a reason for each of its complained-of

actions, and there is no fact issue that could suggest pretext.

      As it relates to his gender discrimination claims based on his removal from

the position of principal, Ward’s successor is indeed female. (Freeman Aff., ¶ 3).


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But even if Ward could make out a prima facie case for gender discrimination, both

his gender discrimination and race discrimination claims fail—regardless of whether

they relate to his placement on a PDP, his removal from the position of principal, or

his other allegations—because the undisputed facts establish that the School District

had multiple legitimate, nondiscriminatory reasons for its actions.

      Given Ward’s extensive history of misconduct, there were legitimate, non-

discriminatory reasons both for Ward to be placed on a PDP and to be removed from

the principal position. (See generally Section IV.B.2.b.; see also, generally,

Defendant’s Statement of Undisputed Facts). Ward’s supervisor knew of his

extensive misconduct when she placed him on the PDP and did so on the basis of

that knowledge. (See generally Barton Aff.). And, when the Superintendent

determined not to recommend that Ward return the next year as a principal, the

Superintendent also was aware of this misconduct, in addition to the fact that Ward

did not have tenure as a principal, and made his decision with these factors in mind.

(Pugh Aff., ¶ 8).

      Regarding other adverse actions alluded to in Ward’s Complaint, Ward was

required to rewrite his SIP for Whitesville Road in the 2013-2014 school year

because his initial SIP did not include a sufficient amount of detail for measuring

areas of school improvement for the year. (Barton Aff., ¶ 13). When Ward’s


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supervisor met with him to discuss the inadequacy of his initial SIP, Ward stated

"Tell me what you want me to write, and I’ll write it." (Id.).

         As it relates to Ward’s allegations that his school was overcrowded and that

he received no additional administrative help on the basis of a discriminatory motive,

both Ward’s school and Franklin Forest Elementary School—headed by Carol

Montgomery, a Caucasian female—received extra students in the 2012-2013 school

year when another school, Unity Elementary, was closed for budgetary reasons.

(Cagle Aff., ¶ 4). Students were distributed to both schools based on geographical

proximity. (Id.). And, in the 2011-2012, 2012-2013, and 2013-2014 school years,

the School District did not place additional administrators at any elementary schools

due to budgetary concerns. (Cagle Aff., ¶ 7).

         During the 2012-2013 and 2013-2014 school years, as at other times, student

arrival times were set by the School District Transportation Department district-

wide. (Cagle Aff., ¶ 5). Arrival times were set depending upon the locations of bus

routes. (Id.). Arrival time for elementary school students district-wide was

approximately 7:00 AM, and no elementary schools had arrivals after 7:15 AM.

(Id.).

         The undisputed facts therefore clearly show that the School District had

legitimate, non-discriminatory reasons for all its actions described in Ward’s


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Complaint. And, there is no evidence in this case that could suggest pretext.

Therefore, each and every one of Ward’s race and gender discrimination claims

under Title VII and 42 U.S.C. § 1981 must fail.

C.       THE UNDISPUTED FACTS SHOW THAT THERE IS NO CONVINCING MOSAIC
         OF DISCRIMINATION

         Discrimination claims may survive summary judgment if there is a

"convincing mosaic" of circumstantial evidence that would allow a jury to infer

intentional discrimination by the decisionmaker. Smith v. Lockheed-Martin Corp.,

644 F.3d 1321, 1328 (11th Cir. 2011). Even so, the Eleventh Circuit has made clear

that a plaintiff must still proffer a sufficient weight of evidence to show that a

defendant treated employees of different classes differently. See, e.g., Moultrie v.

Georgia Dep't of Corr., 703 F. App'x 900, 907 (11th Cir. 2017).6




     6
      In Moultrie, the plaintiff, an African-American female, and her Caucasian
female comparators, were probation officers who authorized improper warrants. 703
F.App’x. at 906. One comparator issued a warrant on the basis of a mathematical
error, while the other’s mistaken warrant was issued based on another person’s
failure to enter a revocation in the electronic system. Id. In contrast, the plaintiff
failed to take even the basic steps of doing her job in reviewing the system notes. Id.
The comparators were disciplined, and the plaintiff was terminated. Id. The Eleventh
Circuit affirmed summary judgment for the defendants, holding that the situations
were insufficiently similar, and therefore the evidence was too weak to create a
"convincing mosaic" to suggest discriminatory motive. Id.

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      Here, Ward’s history of misconduct is not meaningfully comparable to the

histories of his potential comparators in nature or in scope; he was not treated less

favorably than any of those comparators; and there is no evidence whatsoever,

circumstantial or otherwise, of discriminatory intent or motive on the part of the

School District or the individual actors Ward identifies in his Complaint. Contrast

Smith, 644 F.3d at 1329-46 (evidence supporting convincing mosaic included a

motive to discriminate, incidents of Caucasian and African-American employees

being treated differently, and the employer’s conscious tracking of race in

disciplinary decisions). The undisputed facts therefore fail to establish a convincing

mosaic of circumstantial evidence to create a triable issue of fact on intentional

discrimination, and each and every one of Ward’s gender and race discrimination

claims must fail.

D.    WARD’S RETALIATION CLAIMS FAIL BECAUSE WARD DID NOT ENGAGE IN
      A PROTECTED ACTIVITY, THERE IS NO CAUSAL LINK BETWEEN THE
      ACTIVITIES AND THE SCHOOL DISTRICT’S ACTIONS, AND THE SCHOOL
      DISTRICT HAD LEGITIMATE, NON-RETALIATORY, NON-PRETEXTUAL
      REASONS FOR ITS DECISIONS

      Title VII prohibits employers from retaliating against an employee "because

he has opposed any . . . unlawful employment practice . . . or because he has made a

charge, testified, assisted, or participated in any manner in an investigation,

proceeding, or hearing under this subchapter." Gowski v. Peake, 682 F.3d 1299,


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1311 (11th Cir. 2012) (quoting 42 U.S.C. § 2000e-3(a)). The term "unlawful

employment practice" means discrimination on the basis of any of seven prohibited

criteria: race, color, religion, sex, national origin, opposition to employment

discrimination, and submitting or supporting a complaint about employment

discrimination. Univ. of Texas Sw. Med. Ctr. v. Nassar, 570 U.S. 338, 360 (2013).

      Both Section 1981 and Title VII retaliation claims are analyzed under the

same burden-shifting framework. See Standard v. A.B.E.L. Servs. Inc., 161 F.3d

1318, 1330 (11th Cir. 1998).

      1.     Ward Fails To Establish A Prima Facie Case For Retaliation.

      To establish a prima facie case of retaliation, a plaintiff must show: (1)

statutorily protected activity; (2) a materially adverse action; and (3) a causal link

between the protected activity and the adverse action. Brown v. Ala. Dep’t of

Transp., 597 F.3d 1160, 1181 (11th Cir. 2010). If the plaintiff can establish a prima

facie case, the burden shifts to the employer to articulate a legitimate,

nondiscriminatory reason for its actions. Id. at 1181-82. If the employer does so,

then the burden shifts back to the plaintiff to show that the employer’s proffered

reason is pretextual. Id. Ultimately, the plaintiff must prove that "the desire to

retaliate was the but-for cause of the challenged employment action." Siddiqui v.

NetJets Aviation, Inc., 773 F. App'x 562, 566 (11th Cir. 2019) (citation omitted).


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             a.     Ward Did Not Engage In A Statutorily Protected Activity

      Ward identifies two supposed protected acts: (1) complaining in October

2013, in some unspecified context, to the Troup County School Board and Central

Office about placement of low-income African-American students at the school

where Ward was principal (Id., pp. 58-59); and (2) filing a grievance against his

supervisor after receiving his evaluation (Doc. 30, p. 58).

                    i.    Ward’s Grievance

      A workplace grievance listing complaints unrelated to discrimination does not

constitute a statutorily protected activity. See, e.g., Valdes v. Miami-Dade Coll., 463

F. App'x 843, 846 (11th Cir. 2012); Gerard v. Bd. of Regents of State of Ga., 324 F.

App'x 818, 826 (11th Cir. 2009) (affirming summary judgment for university after

university determined not to hire prospective employee plaintiff, where plaintiff’s

letter laid out a list of grievances but did not indicate that he was discriminated

against based on his membership in a protected group).

      Here, Ward’s grievance concerned his scores on his annual evaluation given

by his supervisor, Dr. Pat Barton, and Ward’s contention that Barton

"misinterpreted" or "misapplied" the evaluation instrument in various undefined

ways. (See Cagle Aff., Exh. 2). These allegations have nothing to do with

discrimination on the basis of membership in a protected class. Consequently,


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Ward’s filing of the grievance does not constitute a "statutorily protected activity,

and his retaliation claims arising therefrom must fail.

                   ii.    The Supposed Complaint To The School Board About
                          Placement Of Students

       Ward claims that he complained in October 2013 to the Troup County Board

of Education that increased numbers of low-income African-American students

from a closed school, Unity Elementary, were being placed at Ward’s school,

Whitesville Road, thereby straining Whitesville’s resources, overcrowding the

school and—Ward claims—leading to de facto racial segregation in the School

District. (See Doc. 30, pp. 58-59). There is no evidence in the record that this

complaint ever actually occurred.

       Even assuming Ward did make such a complaint to the Board, no details on

the communication are provided in the Complaint. Ward does not plead, let alone

point to any evidence which could suggest, that the substance of the communication

included a complaint to any effect that the Unity students were placed at Whitesville

Road because of Ward’s membership in a protected class.7 Thus, there is no triable




   7
     In fact, the Unity students were placed at Whitesville Road on the basis of
geographical proximity when Unity closed for budgetary reasons. As it relates, Unity
students were also sent to Franklin Forest Elementary, where a Caucasian female,
Carol Montgomery, was principal. (Cagle Aff., ¶ 4).

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issue of fact on whether Ward’s complaint—if it even happened—constituted a

protected activity, and summary judgment for the District on this claim is warranted.

             b.    There Is No Evidence Of A Causal Link Between Ward’s
                   Complaint About Student Placement And Ward’s Removal
                   From The Position of Principal.8

       To demonstrate a causal connection, a plaintiff must show that (1) the

decisionmakers knew of his protected activity, and (2) the protected activity and

adverse action weren’t "wholly unrelated." Shannon v. Bellsouth Telecomms., Inc.,

292 F.3d 712, 716 (11th Cir. 2002). The relatedness between the protected activity

and adverse action may be demonstrated by temporal proximity, but absent other

evidence of causation, temporal proximity must be "very close." Thomas v. Cooper

Lighting, Inc., 506 F.3d 1361, 1364 (11th Cir. 2007) (citation omitted). The Eleventh

Circuit has held that a three-month delay between a protected activity and adverse

action, standing alone, was insufficient to show a causal connection, id., but has




   8
       With regard to Ward’s other basis for retaliation—his grievance—the
undisputed facts show that Ward’s grievance was submitted on April 14, 2014.
(Cagle Aff., ¶ 10). The Superintendent notified Ward that Ward was not to be
recommended to return to the position of principal on May 14, 2014, one month
later. (Pugh Aff., ¶ 7). But, even if Ward could establish a causal link based on
temporal proximity alone, this retaliation claim fails because the Superintendent and
the School District had a legitimate, non-retaliatory, non-pretextual reason for their
decisions. (See Section IV.D.2., below).

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found a seven-week gap between the activity and the adverse action to be sufficient,

see Farley v. Nationwide Mut. Ins. Co., 197 F.3d 1322, 1337 (11th Cir. 1999).

      Ward alleges—without evidence—that he complained to the School Board in

October 2013. But he was first informed that he was not going to be recommended

to return to the position of principal in May 2014 (Pugh Aff., ¶ 7, Exh. 3)—some

seven months later, after which the Board of Education then confirmed the same.

And, there is no evidence of any kind that, in making this decision, the

Superintendent or Board knew about, let alone took into account, Ward’s supposed

complaint to the Board. Therefore, even if Ward’s October 2013 complaint about

student placement constituted a protected activity, there is no issue of disputed

material fact that could suggest a causal link between that activity and Ward’s

removal as principal, and Ward’s prima facie case for retaliation arising out of that

supposed complaint fails on this element.

      2.     The District Had A Legitimate, Nondiscriminatory Reason To
             Remove Ward From The Position of Principal

      As the School District has extensively shown, even if Ward could make out a

prima facie case for retaliation, there were multiple legitimate, non-retaliatory

reasons for removing Ward from the principal position. (See generally Section

IV.B.4, above). The burden therefore shifts back to Ward to establish that those

reasons were pretextual.

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      3.     There Is No Disputed Issue Of Material Fact That Could Suggest
             Pretext

      A reason is not pretext for retaliation "unless it is shown both that the reason

was false, and that [retaliation] was the real reason." Brooks v. County Com’n of

Jefferson County, Ala., 446 F.3d 1160, 1163 (11th Cir. 2006) (citation and quotation

omitted). To create a genuine issue of material fact on the question of pretext, a

plaintiff must "demonstrate that the proffered reason was not the true reason for the

employment decision." Jackson v. Ala. State Tenure Comm., 405 F.3d 1276, 1289

(11th Cir. 2005).

      Here, neither Ward’s supposed complaint about student placement in October

2013, nor his grievance for Dr. Barton, served as any basis for the Superintendent’s

May 2014 decision not to recommend Ward for principal for the coming academic

year. Instead, the undisputed facts show that what the Superintendent had in mind

was Ward’s extensive history of misconduct, including his inability to implement

appropriate curriculum for students and his misplacement of students in advanced

curriculum classrooms contrary to their qualifications, and complaints from parents

of students concerning the same; his extensive administration of inappropriate

student discipline; his unprofessional communications in dealing with faculty and

staff; his inaccurate representations of teacher evaluations without conducting

classroom observation; and the fact that he did not have tenure as an administrator.

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(Pugh Aff., ¶ 8). Thus, even if Ward could withstand the preceding stages of the

burden-shifting analysis—which he cannot—there is no disputed issue of material

fact that could suggest pretext on Ward’s retaliation claims arising from either his

alleged complaint about student placement or from his grievance, and summary

judgment on each and every one of Ward’s retaliation claims is warranted.

E.    NO FIRST AMENDMENT VIOLATION EXISTS BECAUSE PLAINTIFF WAS NOT
      PREVENTED FROM SPEAKING ON A MATTER OF PUBLIC CONCERN

      The First Amendment analysis for public employee speech first requires

determining whether the employee spoke as a citizen on a matter of public concern.

See Pickering v. Bd. of Ed. of Twp. High Sch. Dist. 205, Will Cty., Illinois, 391 U.S.

563, 574 (1968). "If the answer is no, the employee has no First Amendment cause

of action based on his or her employer’s reaction to the speech." Garcetti v. Ceballos,

547 U.S. 410, 418 (2006). Employee speech does not automatically constitute

speech on a matter of public concern simply because the speaker is a public

employee. See, e.g., Battle v. Bd. of Regents for Georgia, 468 F.3d 755, 760 (11th

Cir. 2006). "When a public employee speaks not as a citizen upon matters of public

concern, but instead as an employee upon matters only of personal interest, absent

the most unusual circumstances, a federal court is not the appropriate forum in which

to review the wisdom of a personnel decision taken by a public agency allegedly in



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reaction to the employee's behavior.” Connick v. Myers, 461 U.S. 138, 138–39

(1983).

       or example, in Borough of Duryea, Pa. v. Guarnieri, the plaintiff, a police

chief, was terminated and then won reinstatement in a union grievance proceeding

challenging the termination. 564 U.S. 379, 383 (2011). The borough council later

issued directives instructing the plaintiff how to perform his duties, which the

plaintiff claimed was in retaliation for the filing of his grievance, thereby violating

his First Amendment right to petition the government for a redress of grievances. Id.

The Supreme Court held that the plaintiff’s union grievance did not constitute a

matter of public concern. Id.

      In this matter, as was the case in Guarnieri, Ward’s First Amendment claim is

based solely on the denial of his grievance against his supervisor, Dr. Pat Barton, the

substance of which grievance was Ward’s disagreement with Barton’s evaluation of

Ward’s performance as principal. Ward claims that, when the Superintendent denied

Ward’s grievance at the penultimate stage of the appeal process—an appeal to the

Troup County Board of Education—Ward’s First Amendment rights were infringed.

(Doc. 30, p. 61). But the undisputed facts show that Ward’s "speech" in question—

his opposition to his evaluation results, his desire that they should be otherwise, and

his claim that the evaluation was "misapplied" in some undefined way—was a matter


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solely of personal interest, not of public concern, for which there is no First

Amendment protection. Consequently, the School District is entitled to summary

judgment on Ward’s First Amendment claim.

                             IV.   CONCLUSION

      For the foregoing reasons, Defendant Troup County School District

respectfully requests that its Motion for Summary Judgment as to each and every

one of Plaintiff’s claims be GRANTED.

      Respectfully submitted this 26th day of August, 2019.

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                   LOCAL RULE 7.1D CERTIFICATION

Pursuant to Local Rule 7.1D for the Northern District of Georgia, the undersigned
counsel for Defendants certifies that the above and foregoing is a computer
document prepared in Times New Roman (14 point) font in accordance with Local
Rule 5.1B and C.

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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


ERNEST HAYWARD WARD,

       Plaintiff,

v.
                                                  CIVIL ACTION FILE
                                               NO. 3:17-cv-00183-TCB-RGV
TROUP COUNTY SCHOOL
DISTRICT,

       Defendant.


                          CERTIFICATE OF SERVICE


      I hereby certify that I have this day served a copy of the within and foregoing

Brief in Support of Defendant’s Motion for Summary Judgment upon all parties

to this matter by depositing a true copy of same in the U.S. Mail, proper postage

prepaid, addressed to counsel of record as follows and/or filing said document with

the CM/ECF system which will automatically send electronic notification to the

following:

                              Ernest Hayward Ward
                              222 Clearview Court
                              LaGrange, GA 30241
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         Respectfully submitted this 26th day of August, 2019.

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